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May 10, 2023

Via ECF

Magistrate Judge Virginia K. DeMarchi
San Jose Courthouse
Courtroom 2 – 5th Floor
280 South 1st Street
San Jose, CA 95113

Re:    In re Google RTB Consumer Privacy Litig., No. 4:21-cv-02155-YGR-VKD (N.D. Cal.)
       Further Joint Letter Brief re: Dashboards and Source Code Changes, per ECF No. 495

Dear Magistrate Judge DeMarchi:

        Plaintiffs and Defendant Google LLC (“Google”) submit this further joint letter brief in
response to the Court’s April 28, 2023 Order re: April 3, 2023 Discovery Dispute (ECF No. 495)
(“Order”) regarding plaintiffs’ request that Google produce (i) information about and exemplars
of certain “dashboards” used by several Google employees in connection with their RTB-related
work, and (ii) source code changes during the relevant time period pertaining to RTB bid request
and bid response fields. See ECF No. 472-3. The parties conferred on May 3rd and 5th, and have
reached impasse on the source code change issue, as discussed below. Attached as Exhibit A is a
copy of the Requests for Production (RFPs) identified. The Court is also referred to ECF No. 472-
3 (original joint letter brief).

I.     PLAINTIFFS’ POSITION

           A. Dashboards

       With respect to the dashboard dispute, the parties met and conferred and exchanged
information about the RFPs relevant to the dashboards and the information in and use of the
dashboards. The parties are at an impasse as to whether the RFPs served to date call for the
dashboard discovery sought by plaintiffs in the motion. To resolve this impasse, and avoid
burdening the Court, plaintiffs will be serving new discovery focused specifically on the
information contained within some or all of the at-issue dashboards.

           B. Source Code Changes

        With respect to the source code change dispute, during the meet and confer discussions,
plaintiffs identified the specific RFPs supporting their demand for the source code change
information, explained why the discovery Google has produced to date is not sufficient, and
offered to compromise their request by limiting the source code changes to only those changes
pertaining to bid request and bid response fields that Google has either voluntarily produced data
for or been ordered by the Court to produce data for. Plaintiffs also noted that they were not seeking
all of the details of these source code changes, but only the summary of each change and the
associated change number. Notwithstanding the limited nature of what plaintiffs are seeking,

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Google rejected this compromise offer and would only agree to produce source code changes for
six fields in total. For the reasons set forth below, and in plaintiffs’ original submission (ECF No.
472-3), the Court should order Google to produce the summaries of all source code changes for all
bid request and bid response fields for which Google will otherwise be producing data.

        In their original filing (ECF No. 472-3), plaintiffs described at length why the source code
changes contain relevant and responsive information that goes directly to class certification issues
and the merits (both liability and damages). For example, these changes will show what data fields
were included in bid requests and bid responses during what time period, how the information
contained in those fields may have changed during the class period, and reveal when certain fields
of user data were “deprecated” (ceased to be used) from passing through RTB. Google’s
employees confirmed during depositions that the source code changes would reveal this. And
deposition exhibits confirmed that Google can produce a summary of each source code change
with an associated change number attached to that summary. See ECF No. 472-3 at 3. Source code
changes pertaining to the particular RTB bid request and bid response fields that are the subject of
discovery in the case are called for in a number of RFPs, including RFP Nos. 91, 92, 94, 97, 99,
and 100. See Exhibit A (setting forth these RFPs).

        The discovery Google has produced to date is not sufficient because, as Google has
acknowledged in prior meet and confers, while Google has produced some limited source code
change information, it has refused to confirm that it has produced documents sufficient to show all
source code changes relating to RTB, or even all source code changes relating to RTB bid request
and bid response fields. It is unclear from Google’s production to date what percentage of relevant
source code changes have been produced, how those particular changes were selected (as opposed
to others), or the scope and volume of potentially relevant source code changes that have neither
been searched for nor produced by Google—and Google will not provide this information to
plaintiffs. In light of Google’s intransigence, the only way to obtain certainty that documents
sufficient to show all relevant source code changes have been produced, at least with respect to
the bid request and bid response fields at issue, is to require Google to search for and produce those
source code changes (in summary fashion).

        Because plaintiffs are only seeking a summary of each source code change, and are limiting
the changes only to the particular RTB bid request and bid response fields that are otherwise the
subject of discovery, the burden to Google is minimal and the information sought is both directly
relevant to class certification and the merits and directly proportional to the needs of the case.
Google has made no showing otherwise and should be ordered to produce the summaries of all
source code changes for the particular RTB bid request and bid response fields that are otherwise
the subject of discovery within two weeks.

II.    GOOGLE’S POSITION

       A.      Plaintiffs’ Source Code Demand is Overly Broad, Highly Burdensome, and
               Not Proportionate.1


1
 After Google provided Plaintiffs with detailed information in response to their requests, Plaintiffs
confirmed they would not raise any further issues related to dashboards in this joint letter. Instead,
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        Plaintiffs’ demand for a log of all source code changes involving RTB bid request and bid
response data fields should be rejected because it remains overly broad, unduly burdensome, and
disproportionate. Plaintiffs rely on Requests for Production (“RFPs”) 91, 92, 94, 97, 99, and 100
for this expansive discovery, but none of these RFPs refers to source code and all are limited to
documents “sufficient to show” various aspects of how user information is included or excluded
from bid requests (what Plaintiffs term the “Decision-Making Process”). (ECF No. 352.)2 Google
has already reasonably complied with these RFPs, including producing RTB protocol buffers (the
same type of documentation Plaintiffs rely on in their Complaint to describe the contents of bid
requests), change logs, and related documentation that show the structure of bid requests and bid
responses at different points during the alleged class period. Specifically, Google has produced
114 versions of RTB protocol buffers spanning from 2017 through the present, from which
Plaintiffs can evaluate changes over time, and approximately 1,100 documents related to change
logs, including the logs themselves and related correspondence.

        Plaintiffs have not identified any specific deficiency in Google’s production for which a
log of source code changes would be needed to address. Plaintiffs have also not adequately
explained, as required by the Court’s Order, how “the information Google has already provided is
not sufficient to show which fields were included in bid requests during the class period.” (ECF
No. 495 at 4:21–23.) Nor could they given the ample productions Google has already made, as
described above. Despite this, Plaintiffs continue to insist that Google produce records showing
source code changes for all bid request and all bid response data fields that were included in
Google’s prior data productions or that the Court has ordered to be produced in its prior Orders.

        In accordance with this Court’s order, (id. at 4:24–27), Google has explained to Plaintiffs
that attempting to generate such a log of all changes to relevant source code would require
individual investigations and a time-intensive, manual process. Moreover, Google explained that
not all of the bid request fields it has produced—some of which pertain only to the ad impression,
or the page or app on which an ad will be shown—are relevant. For example, Plaintiffs’ demand
would include source code changes for bid request fields that merely denote the time (in
milliseconds) from the start of a video when the ad will be displayed (“videoad_start_delay”),
whether a page is optimized for mobile browsers (“is_mobile_web_optimized”), and whether an
ad will be presented as a full screen ad (“Is_interstitial_request”), among many other data fields
that have little to no relevance to the issues in dispute in this case, which focus on the alleged
personal information of users. It would serve no purpose to force Google to search for and produce
records of source code changes for these types of irrelevant data fields, and Plaintiffs’ demands
would only impose an undue and disproportionate burden on Google.


Plaintiffs stated they will serve new discovery for dashboards-related information. Based on
Plaintiffs’ representations, Google is not addressing dashboards in this joint letter but reserves all
its rights.
2
  The Court limited RFPs 91, 92, 94, and 97 to a “deliberate and focused investigation” regarding
Google’s “operation of its automated data selection process.” (ECF No. 352 at 4–5.) The Court
also limited RFP 99 to documents “sufficient to show” the filters or restrictions Google uses “to
exclude user-specific data from bid requests to third parties via RTB” and how that process works
and has changed over time. (Id. at 7:13–16.)
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        Indeed, the Court has acknowledged that not all bid request and bid response fields are
relevant or proportional to this case. Specifically, the Court rejected Plaintiffs’ demand that
Google produce discovery for 10 specific bid request fields of the 12 Plaintiffs requested. (ECF
No. 486 at 4:17–6:11 (finding that six bid request fields were outside the scope of the Court’s prior
orders, tentatively agreeing that one bid request field was also outside the scope, and holding that
three bid request fields appeared duplicative of prior information Google produced).) Similarly,
the Court also denied Plaintiffs’ demand for discovery on three of the bid response fields Plaintiffs
requested. (ECF No. 482 at 6:14–18 (finding that three bid response fields were outside the scope
of the Court’s prior orders).) Plaintiffs’ sweeping demands are inconsistent with these prior
Orders.

        Despite these issues, Google proposed to Plaintiffs that it would investigate up to six data
fields of Plaintiffs’ choosing and undertake reasonable efforts to collect records of source code
changes for those fields—a proposal Plaintiffs refused. Plaintiffs’ continued insistence on a
massively broader production of source code changes for all bid request and response fields is
unreasonable and should be rejected.

III.   NECESSITY OF A HEARING

           A.      Plaintiffs’ Position

       Plaintiffs do not believe a hearing on this matter is necessary.

           B.      Google’s Position

       Google does not believe a hearing on this matter is necessary because the Court’s relevant
Orders are unambiguous and the Court may resolve this dispute on the arguments above.

IV.    DISCOVERY CUT-OFFS

        The parties’ deadline to substantially complete their production of documents in advance
of class certification passed on July 11, 2022. The fact discovery cut-off is November 10, 2023,
the close of expert discovery is February 9, 2024, and plaintiffs’ motion for class certification is
due May 23, 2023, although an extension of that deadline has been sought. See ECFs Nos. 319,
492, 493.

 V.    COMPLIANCE WITH MEET AND CONFER REQUIREMENT

       In compliance with the Order’s meet and confer requirements, the parties met and
conferred on May 3 and 5, 2023, via Zoom. On plaintiffs’ side, Jonathan Levine, Elizabeth
Pritzker, Bethany Caracuzzo, and Anne Davis attended. On Google’s side, Whitty Somvichian,
Robby L.R. Saldaña, Anu Dhillon, and Elizabeth Sanchez Santiago attended.




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Dated: May 10, 2023                        PRITZKER LEVINE LLP

                                           By: /s/ Elizabeth C. Pritzker
                                           Elizabeth C. Pritzker (SBN 146267)
                                           Jonathan K. Levine (SBN 220289)
                                           Bethany Caracuzzo (SBN 190687)
                                           Caroline Corbitt (SBN 305492)
                                           1900 Powell Street, Suite 450
                                           Emeryville, CA 94608
                                           Tel.: (415) 692-0772
                                           Fax: (415) 366-6110
                                           ecp@pritzkerlevine.com
                                           jkl@pritzkerlevine.com
                                           bc@pritzkerlevine.com
                                           ccc@pritzkerlevine.com

                                           Interim Class Counsel

Dated: May 10, 2023                        BLEICHMAR FONTI & AULD LLP
                                           Lesley E. Weaver (SBN 191305)
                                           Anne K. Davis (SBN 267909)
                                           Joshua D. Samra (SBN 313050)
                                           555 12th Street, Suite 1600
                                           Oakland, CA 94607
                                           Tel.: (415) 445-4003
                                           Fax: (415) 445-4020
                                           lweaver@bfalaw.com
                                           adavis@bfalaw.com
                                           jsamra@bfalaw.com

Dated: May 10, 2023                        SIMMONS HANLY CONROY LLC
                                           Jason ‘Jay’ Barnes (admitted pro hac vice)
                                           An Truong (admitted pro hac vice)
                                           Jennifer Paulson (admitted pro hac vice)
                                           112 Madison Avenue, 7th Floor
                                           New York, NY 10016
                                           Tel.: (212) 784-6400
                                           Fax: (212) 213-5949
                                           jaybarnes@simmonsfirm.com
                                           atruong@simmonsfirm.com
                                           jpaulson@simmonsfirm.com

Dated: May 10, 2023                        DiCELLO LEVITT LLC
                                           David A. Straite (admitted pro hac vice)
                                           485 Lexington Avenue, Suite 1001
                                           New York, NY 10017

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May 10, 2023
                                           Tel.: (646) 933-1000
                                           dstraite@dicellolevitt.com

                                           James Ulwick (admitted pro hac vice)
                                           Ten North Dearborn Street, Sixth Floor
                                           Chicago, IL 60602
                                           Tel.: (312) 214-7900
                                           julwick@dicellolevitt.com

Dated: May 10, 2023                        COTCHETT, PITRE & McCARTHY LLP
                                           Nanci E. Nishimura (SBN 152621)
                                           Brian Danitz (SBN 247403)
                                           Karin B. Swope (admitted pro hac vice)
                                           840 Malcolm Road, Suite 200
                                           Burlingame, CA 94010
                                           Tel.: (650) 697-6000
                                           Fax: (650) 697-0577
                                           nnishimura@cpmlegal.com
                                           bdanitz@cpmlegal.com
                                           kswope@cpmlegal.com

Dated: May 10, 2023                        BOTTINI & BOTTINI, INC.
                                           Francis A. Bottini, Jr. (SBN 175783)
                                           Yury A. Kolesnikov (SBN 271173)
                                           7817 Ivanhoe Avenue, Suite 102
                                           La Jolla, CA 92037
                                           Tel.: (858) 914-2001
                                           Fax: (858) 914-2002
                                           fbottini@bottinilaw.com
                                           ykolesnikov@bottinilaw.com

                                           Counsel for Plaintiffs and the Proposed Class


Dated: May 10, 2023                        COOLEY LLP

                                           By: /s/ Whitty Somvichian
                                           Michael G. Rhodes
                                           Whitty Somvichian
                                           Kelsey R. Spector
                                           Reece Trevor
                                           Anupam S. Dhillon
                                           3 Embarcadero Center, 20th floor
                                           San Francisco, CA 94111-4004
                                           Tel.: 415-693-2000
                                           Fax: 415-693-2222

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                                             rhodesmg@cooley.com
                                             wsomvichian@cooley.com
                                             kspector@cooley.com
                                             rtrevor@cooley.com
                                             adhillon@cooley.com

                                             Robby L.R. Saldaña
                                             Khary J. Anderson
                                             1299 Pennsylvania Avenue NW, Suite 700
                                             Washington, DC 20004-2400
                                             Tel.: 202-776-2109
                                             Fax: 202-842-7899
                                             rsaldana@cooley.com
                                             kjanderson@cooley.com

                                             Attorneys for Defendant
                                             GOOGLE LLC



            ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

      I, Caroline C. Corbitt, attest that concurrence in the filing of this document has been

obtained from the other signatories. I declare under penalty of perjury that the foregoing is true

and correct. Executed this 10th day of May, 2023, at Emeryville, California.

                                             /s/ Caroline C. Corbitt_
                                             Caroline C. Corbitt




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